            Case 20-60030 Document 775 Filed in TXSB on 03/21/22 Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION
                                                 CASE:     Q’Max America, Inc.
CASE NO.: 20-60030
                                                           Anchor Drilling Fluids USA, LLC
WITNESSES:                                       JUDGE: The Honorable Christopher Lopez
1. Christopher Murray, Chapter 7 Trustee
2. Arispah Elisa Hogan
3. Tom Dischmann
4. David Erstine
5. Nicholas R. Lawson                            DATE:     March 23, 2022 at 10:00 a.m.
6. Any witness called or listed by any
   other party; and
7. Any rebuttal and/or impeachment
   witnesses


                                                 ATTORNEY’S PHONE NO: 713.658.1818

                                    NATURE OF PROCEEDINGS

                              PLEADING                                       DOCKET NUMBER

Application to Employ Newmark Real Estate of Houston, LLC as Listing                  764
Agent and Broker
Application to Employ CBRE, Inc. as Listing Agent and Broker                          767
Trustee’s Application Pursuant to Section 327(e) of the Bankruptcy Code               769
for Entry of an Order Authorizing the Retention and Employment of
McDowell Hetherington LLP as Special Litigation Counsel
                                               EXHIBITS


                                                                                          DISPOSITION
NO           DESCRIPTION               OFFERED        OBJECTION           ADMITTED        AFTER TRIAL
1    Newmark Listing Agreement
     (ECF No. 764-1)
2    Declaration of Arispah Elisa
     Hogan
     (ECF No. 764-2)
3    CBRE Listing Agreement
     (Roosevelt, UT)
     (ECF No. 767-1)
            Case 20-60030 Document 775 Filed in TXSB on 03/21/22 Page 2 of 2



4    CBRE Listing Agreement (Van
     Buren, AR)
     (ECF No. 767-2)
5    Declaration of Tom Dischmann
     (ECF No. 767-3)
6    Declaration of David Erstine
     (ECF No. 767-4)
7    Declaration of Nicholas R.
     Lawson
     (ECF No. 769-1)
8    Special Litigation Matters
     (ECF No. 769-2)
9    McDowell Hetherington
     Engagement Letter
     (ECF No. 769-3)
10   Any exhibit introduced by any
     other party
11   Rebuttal or impeachment
     exhibits as necessary
